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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
ABDOLLAH ABDOLLAHI,
Telmashki Village, NoorAbad
Shiraz, Iran

ALIASGHAR BAHARI HASHAKVAYEE,
No 206, Montazeri Alley, Sandy Area
Rasht, Iran

AMENEH ROKNI,
Ashouri Alley, Sangi St,                                          Case Number: 1:19-cv-3688
Boushehr, Iran

MOHAMMAD GHADIR SADEGI
9 Aboozar St, 2nd floor
Tehran, Iran

NILOUFAR BARDESTANI ,
6 Fereshtegan St, APT 1,Hasht Jannat St.
Shahin Shahr, Iran

SEYEDYEH TAHEREH MIRNASIR,
No 22, Golestan St #1, Shahid Ojaghi St
Bandar Anzali, Iran

SEDIGHEH SAADATJOU,
Aghaghia Buliding,2N, Shahid Nik Kar Alley,
Tehran, Iran

HAMID NAJAFIFAR,
35 Sayyad Hojabr Manesh Alley, Taleghani St,
Bandar Anzali, Iran

FATEMEH SHOJAIE,
78 Ahamd Goudarzi Alley, Etesami St,
Bourojerd, Iran

AND

MOKHTAR ROUMIANI
Boustan 15th, Roumiani Village
Roumeshkan, Iran
                                           Plaintiffs,
                               Vs

NATIONAL IRANIAN TANKER CO.,
East Shahid Atefi Street 35, Africa Boulevard, P.O. Box
19395-4833,
                       Tehran, Iran
ALI RABIEI, and
Office of the Presidnet, Pasteur St., Pasteur Sq., Tehran, Iran

ALAEDDIN BOROUJERDI
Majlis, Mojaheddin Eslam Ave, Tehran, Iran

             c/o Ministry of Foreign Affairs
        Emam Khomeini Ave
        Tehran, Iran

                                           Defendants.
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                                      COMPLAINT

1. Plaintiffs Abdollah Abdollahi, Aliasghar Bahari Hashakvayee, Ameneh Rokni,

   Mohammad Ghadir Sadegi, Niloufar Bardestani, Seyedyeh Tahereh Mirnasir, Sedigheh

   Saadatjou, Hamid Najafifar, Fatemeh Shojaie, Mokhtar Roumiani (“Plaintiffs”), are

   family members of the crew of the Sanchi Oil Tanker (“Sanchi”), bring suit against

   Defendants the National Iranian Tanker Company (“NITC”), Mr. Ali Rabiei, and

   Alaeddin Boroujerdi under the Alien Tort Claim Act, 28 U.S.C. § 1350 (“ATS”), and the

   Torture Victims Protection Act of 1991, 28 U.S.C. ch. 85 § 1350 (“TVPA”), for severe

   personal injuries and other irreparable harm suffered as a result of Defendants’ unlawful

   acts of hostage taking, extrajudicial execution, piracy, torture, and other torts against

   Plaintiffs family members, the crew of the Sanchi Oil Tanker.

2. Plaintiffs bring this complaint in order to help locate and release of Sanchi’s crewmen

   and also recover for the actions of the National Iranian Tanker Company, Mr. Ali Rabiei,

   and Alaeddin Boroujerdi in the aftermath of a collision between the Iranian owned,

   Panamanian flagged Sanchi Oil Tanker and a Hong Kong owned and flagged ship, the

   CF Crystal.

3. The Sanchi had a full cargo of 111,510 tons of natural-gas condensate oil and was sailing

   from Assaluyeh, Iran to Daeson, Republic of Korea (South Korea) at the time of the

   accident. The CF Crystal was loaded with 63,997.817 tons of sorghum in bulk and was

   sailing from Kalama, Washington State in the United States to Dongguan, China. While

   the crew of the CF Crystal was rescued from the wreckage of the two ships and brought

   safely back to China, the thirty-two members crew of the Sanchi was not rescued and

   largely remain missing. Rescuers at the scene of the accident were only able to recover

   three bodies from the wreckage of the Sanchi and while the government of Iran has

   declared the entire crew dead, Plaintiffs contest the validity of this declaration, and

   believe that crew members are held hostage.


                            JURISDICTION AND VENUE

4. This Honorable Court has jurisdiction over Plaintiffs’ claims under 28 U.S.C. § 1331

   (federal question jurisdiction), 28 U.S.C. § 1350 (ATS) and 28 U.S.C. § 1350 (TVPA).

   ATS provides federal jurisdiction for “any civil action by an alien for a tort only,
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   committed in violation of the law of nations or a treaty of the United States.” TVPA

   supplements and confirms ATS by providing federal jurisdiction for acts of torture, as

   defined by 28 U.S.C. ch. 85 § 1350.

5. Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(a), (b), and (c).


                                        PARTIES

6. Plaintiffs are family members of Sanchi crewmen who are either in captivity or killed.

7. Plaintiff ABDOLLAH ABDOLLAHI is the father of Sadjad Abdollahi.

8. Plaintiff ALIASGHAR BAHARI HASHAKVAYEE is the father of Hamed Bahari

   Hashakvayee.

9. Plaintiff AMENEH ROKNI is the wife of Abozar Nezami.

10. Plaintiff MOHAMMAD GHADIR SADEGI is the father of Mehdi Sadegi.

11. Plaintiff NILOUFAR BARDESTANI is the wife of Milad Aravi, whose body discovered

   three days after the accident.

12. Plaintiff SEDIGHEH SAADATJOU is the wife of Seyed Javad Heidari.

13. Plaintiff HAMID NAJAFIFAR is the father of Alireza Najafifar.

14. Plaintiff FATEMEH SHOJAIE is the mother of Mohammad Piriayee.

15. Plaintiff MOKHTAR ROUMIANI on behalf of Hassan Romiayee.

16. Plaintiff SEYEDYEH TAHEREH MIRNASIR is the wife of Omid Rezei.

17. At the time of the accident these crewmen were operating on Sanchi Oil Tanker, working

   for National Iranian Tanker Company. Plaintiffs believe that in contrast to the official

   claim, their family crewmen were not died at the time of the accident, but they have been

   part of a cover up, and currently in captive or killed.

18. Defendant National Iranian Tanker Company (“NITC”). NITC is the biggest tanker

   company in the Middle East. The company transports Iranian crude oil to export markets

   and also engages in cross-trading of crude oil cargoes for some 150 oil majors

   worldwide. NITC was the operator and manager of the Sanchi Oil Tanker at the time of

   its collision with the CF Crystal and eventual sinking in the East China Sea.

19. Defendant Ali Rabiei is an Iranian politician and former intelligence officer. He served as

   the labor minister of Iran from 2013 to 2018. At the time of the Sanchi disaster, Mr.

   Rabiei was the Iranian Minister of Cooperatives, Labor and Welfare and was in China
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          during the aftermath of the collision serving as the head of an ad hoc committee tasked

          with following up on the condition of the tanker and its crew.

     20. Defendant Alaeddin Boroujerdi is a member of Iranian parliament and former Chairman

          for the Committee for Foreign Policy and National Security of the Islamic Consultative

          Assembly of Iran (Majilis). Mr. Boroujerdi works with Mr. Rabiei during the course of

          investigation and cover up of the facts of the accident.


                                        STATEMENT OF FACTS

     21. The Sanchi Oil Tanker collision occurred on January 6, 2018 when the Panamanian-

          flagged, Iranian-owned tanker Sanchi, collided with the Hong-Kong flagged cargo ship

          CF Crystal in the East China Sea.1

     22. The Sanchi had a full cargo of 111,510 tons of natural-gas condensate oil2 and was

          sailing from Assaluyeh, Iran to Daeson, Republic of Korea (South Korea) at the time of

          the accident.3 The CF Crystal was loaded with 63,997.817 tons of sorghum in bulk4 and

          was sailing from Kalama, Washington in the United States to Dongguan, China.5

     23. The collision breached the cargo tanks of the Sanchi, resulting in the leakage of a large

          amount of condensate oil.6

     24. The collision occurred 160 nautical miles off Shanghai, China with the Sanchi catching

          fire shortly after the collision with multiple explosions to follow.7 After burning and

          drifting for over a week, the Sanchi sank on January 14, 2018.8 The CF Crystal sustained

          extensive structural damage to its bow and burn damage to other areas but did not sink

          and was able to be salvaged.9



1. CHINA MARITIME SAFETY ADMINISTRATION ET AL., REPORT ON THE INVESTIGATION OF THE COLLISION BETWEEN
M.T. SANCHI AND M.V. CF CRYSTAL IN EAST CHINA SEA ON 6 JANUARY 2018 1 (2018).

2. Id at 23.

3. Id at 1.

4. Id at 24.

5. Id at 1.

6. Id.

7. Sanchi oil tanker disaster: how spills and accidents can make ships safer, THE CONVERSATION (Jan. 29, 2018),
http://theconversation.com/sanchi-oil-tanker-disaster-how-spills-and-accidents-can-make-ships-safer-90207.

8. Id.

9. CHINA MARITIME SAFETY ADMINISTRATION ET AL., REPORT ON THE INVESTIGATION OF THE COLLISION BETWEEN
M.T. SANCHI AND M.V. CF CRYSTAL IN EAST CHINA SEA ON 6 JANUARY 2018 1 (2018).
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    25. The owner of the Sanchi was Bright Shipping, Ltd.10 The operator and management

          company of the Sanchi was the National Iranian Tanker Company located at East Shahid

          Atefi Street 35, Africa Boulevard, P.O. Box 19395-4833, Tehran, Iran.11 The owner and

          operator of the CF Crystal was Changhong Group (Hong Kong) Co., Ltd.12 The

          management company of the CF Crystal was Shanghai CP International Ship

          Management & Broker Co., Ltd.13

    26. The cause of the collision between the Sanchi and the CF Crystal has been subject to

          debate between the countries involved and remains unclear.14

    27. All 21 crewmembers aboard the CF Crystal were rescued and reported as safe, however

          the 32 crewmembers aboard the Sanchi were originally reported as missing.15 Three

          crewmen body were discovered. Currently 29 crewmen are missing. The crew of the

          Sanchi was comprised of 30 Iranian and two Bangladeshi seamen.16

    28. Despite surviving the accident and witnessing the collision firsthand, the crew members

          of the CF Crystal were forbidden from speaking with anyone besides the government

          agencies tasked with investigating the accident.

    29. At the time of the accident, the Sanchi’s owner claimed that the crew could still be alive

          after the collision and called on the Chinese authorities working at the scene to prioritize

          a rescue attempt.17 Mohsen Bahrami, a spokesman for the National Iranian Tanker

          company stated that “there is still hope” and that rescuers would “likely” find survivors

          as “the engine room is not directly affected by the fire and is about 14 meters under

          water.”18


10. Id at 21.

11. Id at 22.

12. Id.

13. Id at 23.

14. Iranian tanker goes down in flames, leaves mess at sea, CBS NEWS (Jan. 15, 2018),
https://www.cbsnews.com/news/iran-oil-tanker-sanchi-sinks-oil-slick-fire-collision-china-freighter/.

15. Id.

16. Ge Mingning et al., The ‘Almost Impossible’ Crash of the Oil Tanker Sanchi, CAIXIN (Jan. 29, 2018),
https://www.caixinglobal.com/2018-01-29/the-almost-impossible-crash-of-the-oil-tanker-sanchi-101204183.html.

17. Golnar Motevalli, Crew Aboard Blazing Iranian Oil Tanker May Be Alive, Owner Says, BLOOMBERG NEWS
(Jan. 10, 2018), https://www.bloomberg.com/news/articles/2018-01-10/crew-aboard-blazing-iranian-oil-tanker-may-
be-alive-owner-says.

18. Still Hope ‘Some Crew Members Alive’ On Burning Iranian Tanker, RADIO FARDA (Jan. 10, 2018),
https://en.radiofarda.com/a/still-hope-crew-members-alive-burning-iranian-oil-tanker-sanchi-east-china-sea-
shanghai/28966386.html.
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    30. After the initial collision between the Sanchi and the CF Crystal, there were several

        phone calls made from phones located on the Sanchi to the NITC where the captain of the

        Sanchi informed the NITC of the status of the Sanchi and the crew. The captain and crew

        were instructed to retrieve life vests and leave the Sanchi on a lifeboat. This fact was

        never acknowledged by NITC.

    31. Surrounding ships received distress signals from Sanchi’s Life Boat. Those ships

        receiving the signal, informed their insurance club and consequently the NITC was

        informed. This fact was never acknowledged by NITC.

    32. The Sanchi’s Capitan’s voice on VHF signal was heard by surrounding ships. Those

        ships receiving the signal, informed their insurance club and consequently the NITC was

        informed. This fact was never acknowledged by NITC.

    33. There were reports in Iranian media that crewmen of Sanchi have left the oil tanker on a

        lifeboat. In pictures taken of the Sanchi after the collision it appears that one of the

        lifeboats is no longer attached to the boat and is missing from the wreckage with the

        mechanism that attaches the lifeboat to the tanker having been released. However, this

        lifeboat has never been found and is still missing.

    34. Iranian Student News Agency (“ISNA”) initially reported that a lifeboat had been

        released from the Sanchi Oil Tanker.

    35. On January 8, 2018 , rescuers recovered one body of a crew member from the waters

        surrounding the Sanchi.19 On January 13, 2018, members of the Chinese rescue and

        salvage team boarded the Sanchi in an attempt to reach the crew, the salvage team was

        able to recover the bodies of two crew members from the deck of the Sanchi, as well as

        the voyage data recorder, or “black box”, from the bridge of the ship before being forced

        to leave the vessel less than half an hour after boarding due to the temperatures and toxic

        smoke.20

    36. After the recovery of the three bodies, the Iranian Student News Agency (“ISNA”)

        reported that the three deceased crew members had been identified as Milad Aravi, Majid




19. Javier C. Hernandez, Hope Fades for Missing Crew Members as Iranian Oil Tanker Sinks, NEW YORK TIMES
(Jan. 14, 2018), https://www.nytimes.com/2018/01/14/world/asia/iran-oil-tanker-china-sea.html.

20. Two bodies recovered from burning oil tanker adrift off China coast, THE GUARDIAN (Jan. 13, 2018),
https://www.theguardian.com/world/2018/jan/13/burning-oil-tanker-sanchi-china-two-bodies-recovered.
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        Naqian and Mohammed Kavousi.21 On January 14, the Ports and Maritime Organization

        of Iran issued a statement declaring that no crew members from the Sanchi had

        survived.22

    37. Immediately after the Sanchi sank on January 14, 2018, Ali Rabiei wrote a letter to

        Iranian President Hasan Rohani in which he stated that the crew of the Sanchi had been

        “martyred for a resistant economy.” He further stated that “without a doubt all crewmen

        died at the time of the accident due the fire and explosion.”

    38. This announcement was very meaningful, because a “resistance economy” was the term

        used by Iran’s Supreme Leader, when he order the government to use any measure to

        resist the pressure from the world, a resistance economy is a way to circumvent sanctions

        against a country or region experiencing sanctions, in this case Iran. This type of

        economy can involve increasing resilience by substituting local inputs for imported

        inputs, the smuggling of goods and an increase in barter trade. In addition, using the term

        “Martyred” is important and carries significant implications. Martyred are those who died

        in the path of Allah, or basically higher fighting the evil. No one, in regular accidents,

        ever called Martyred unless there was an important mission for the country or religion.

    39. Additionally, after the Sanchi sank in the East China Sea, there were no further attempts

        to recover the bodies of the crew, despite the fire caused by the collision and leak of

        condensate oil being put out and the wreck of the Sanchi coming to rest in area of the

        East China Sea that is accessible to divers as it is not too deep.

    40. Despite the Sanchi’s “black box” being recovered from the wreckage of the tanker, the

        “black box” of the CF Crystal was somehow corrupted and unable to be read after the CF

        Crystal was brought back to port. As a result, the information contained on the “black

        box” of the CF Crystal was never reported and remains a mystery to this day.

    41. Sanchi’s Black Box’s information was never verified and the content of the VDR was cut

        after about three minutes from the time of the accident. Defendants are aware of this




21. Bodies of three crew members from Sanchi identified, REUTERS (Jan. 27, 2018),
https://www.reuters.com/article/us-iran-china-sanchi/bodies-of-three-crew-members-from-sanchi-identified-
idUSKBN1FG0VU.

22. Sanchi oil tanker sinks, all crew presumed dead, MEHR NEWS AGENCY (Jan. 14, 2018),
https://en.mehrnews.com/news/131232/Sanchi-oil-tanker-sinks-all-crew-presumed-dead.
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          tampering with evidence in violation of international Maritime Convention governing

          protection of Black Box’s information.

    42. After declaring that the entire crew of the Sanchi had perished in the aftermath of the

          collision, the government of Iran attempted to force family members of the crew,

          including Plaintiffs, to accept that the seamen were dead. When the government faced

          resistance by family members, they offered to hire one family member from each of the

          families to begin working for NITC and further offered to continue paying the deceased’s

          death benefits. While some of the families accepted this offer for various reasons,

          including a need for continued financial stability, several families refused to accept Iran’s

          offer, which cause termination of their benefits by NITC.

    43. Finally, the NITC does not agree the claim that crewmen may be alive, and only agreed

          to pay the damages under the employment agreements to those families that agreed to

          accept the death of their family member who was a member of the Sanchi crew.

          However, despite ongoing litigation in Hong Kong concerning the cause of the accident,

          which is attempting to determine the “at fault party” in the collision, NITC has failed to

          make personal injury claims against the Chinese parties for the wrongful deaths of the

          crew even though NITC has made other claims for damages including the cost of the

          Sanchi and its cargo at the time of the accident.

    44. Since the accident, the Iranian government has forced other family members of the

          Sanchi crew to accept the government’s story and sign a waiver that their relative is dead.

          Yet, Plaintiffs refused to sign such waivers and have remained steadfast in refusing to

          accept the governments version of events.

    45. Indeed, more than a year after the Sanchi sank in the East China Sea, the families of the

          Iranian victims of the collision received mysterious telephone call from their supposedly

          dead relatives that were then abruptly cut off.23 Many of the relatives of the Sanchi crew

          report that their family members attempted to contact them through repeated telephone

          calls, spreading doubt among the families about the official story on the disaster.24




23. Families Of Crew Killed In Oil Tanker Disaster Say They Received Mysterious Calls, RADIO FARDA (Feb. 1,
2019), https://en.radiofarda.com/a/families-of-iran-tanker-victims-sanchi-say-relatives-alive/29745988.html.

24. Id.
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    46. Noushin Najafifar, the sister of one of the Sanchi crew, insists that her brother has been

          calling her morning, noon, and night with most of the calls ending quickly and abruptly.25

          Ms. Najafifar stated that she reported the frequent calls to the president’s office in Tehran

          and that when the calls were disconnected, the family attempted to call back immediately

          with an Arabic speaking male answering the phone.26

    47. Further, another plaintiff, reports that her daughter-in-law has had fifty missed calls

          within a month, presumably from her son. She stated that they had attempted to return the

          calls, but they were disconnected after a single ring, “Nevertheless, we tried and tried,

          and ultimately a woman who spoke Persian mixed with English words answered the

          phone, telling is that there was someone around attempting to communicate with his

          family. Then the line was disconnected, and we never succeeded to get through again.”27



Evidence Contradicting the Official Story

    48. NITC’s official report, similar to Mr. Rabiei’s report to President Rohani, believe that

          Sanchi crewmember died right after the accident because either due to the heat from the

          explosion or their exposure to the toxic gas from the explosion of condensate oil, killed

          them and then they burned. The alternative theory is that the crew went to the engine

          room, in hope that they will be rescued, but they locked out and burned in the engine

          room.

    49. Defendant Rabie was rushed to provide report to President Rohani, stating the crewmen

          martyred for resistance economy.

    50. There are reports in first two days of the accident that the right left boat has been released

          and was seen in the water. Pictures from Sanchi confirmed that there is no lifeboat, and

          the arms holding the lifeboat are opened and released the boat.

    51. The voice recording from Sanchi’s Black Box, clearly indicate that the Capitan of Sanchi

          ordered its crew to leave the Tanker right after the accident, which is clearly against the

          official theory.




25. Id.

26. Id.

27. Id.
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52. Plaintiffs received the call records made and received by mobile number associated to the

   Sanchi Capitan and main crews, the call records show that there were conversations

   between NITC and those number for days after the accident, both before the Sanchi sank

   and after it sank. These calls clearly indicate that the crew didn’t die right after the

   accident.

53. NITC’s refusal to release the full recording available from the Blackbox, in particular

   extended recording after the accident to give information about the action of the crew

   after the accident.

54. Plaintiffs received in total more than 1200 miss calls from numbers unknown to them.

   The area codes indicate that those calls are initiated form Eastern Asian countries.

   Unfortunately, those calls made late at night and family members were not be able to talk

   to anyone. When they tried to call those numbers back, they had no success. It seems

   those calls made from burned phones.

55. Iranian telecom company refused to provide detail technical explanation of those miss

   calls.

56. NITC, despite its claim that every Sanchi’s crewmen are death, has failed to bring an

   action for Personal Injury or loss of life against insurance companies the Tanker was

   insured under their policy or against CF Cristal and its insurance policy. It shows that

   they don’t believe those crewmen are death.

57. NITC failed to hire diving companies or salvage companies to either bring out the bodies

   or the salvage of the Sanchi from the deep water. NITC brought excuses however based

   on experts’ opinions, it is possible to use divers or robot divers because the depth of the

   water is not deep, and the structure of the Tanker is not destroyed as claimed by the

   NITC.

58. There was one crewman body recovered from the water. The crewman had the special

   hazmat suit on, and his body had no sign of burning. In addition, he has his passport with

   him, he was working at the engine room, so he had to go to special locker to have his

   hazmat suit on, then go the Capitan cabin to recover his passport. It indicates that he had

   enough time to change and have the life jacket on and leave the tanker. If one person

   could find a time to change and leave, more crewmen could.
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    59. There were two crewmen discovered from the deck of the Tanker by Chinese crew one

          day before Sanchi sank. Those bodies burned but their bones were intact. It means it was

          not expose to very high temperature for long hours. However, the ship was burning for at

          least seven days at the time of the discovery. It shows that the temperature from the place

          of explosion was significantly reduced at the deck of the Sanchi. Consequently, it

          indicates that the temperature was not enough to damage the solid structure of the deck.

          Therefore, NITC claim that they could not send divers to recover bodies due to

          deformation of the structure is not valid. Also, the video from the discovery shows that

          one day before Sanchi’s sinking, the structure was solid to the point that the crew use its

          steps, and hallways to access the Blackbox.

    60. After the phone calls were received, about thirty of the families began protesting in front

          of Iran’s Ministry of Foreign Affairs, Iranian President Hassan Rouhani’s office, and the

          Chinese embassy in Tehran, demanding a full and transparent investigation into the

          disaster.28

    61. The families of the reportedly deceased crew members claim that they do not trust the

          Iranian authorities and theorize that their relatives may have been taken hostage for some

          reason after the collision.

    62. They never allowed us to attend any sessions of the investigations. They just said we

          don’t have the right.

DOMESTIC VENUES ARE EXCUSTED

    63. From early dates after the accident, Plaintiffs didn’t accept the official story presented to

          them, stating that their family members are died. They asked NITC to use its resources to

          recover bodies, however NITC failed to do that.

    64. Plaintiffs asked to have access to the Black Box of Sanchi, unfortunately, what presented

          to them was incomplete and did not cover the more than 2 minutes after the accident.

          Plaintiff demanded to receive the recording of all room after the accident for extended

          times, however that request has been denied.

    65. Plaintiffs filed action in Iranian courts to force NITC ad different government agencies to

          investigate the accident, provide them with reports about the miss calls received, find




28. Id.
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          means to search the Sanchi Tanker under water for bodies, and release the content of the

          Sanchi Black box in its entirety.

    66. Iran’s Prosecutor Office has issued orders to Iran Foreign Minister office to use its

          channels to pursue the Plaintiffs’ demands. There is no answer provided to those

          demands as of the date of this Complaint.

    67. Iran’s Prosecutor Office also requested for reports from Iran’s Intelligent Ministry, and

          Iran Revolutionary Guard Corp’s Intelligence Agency to provide reports about the

          challenges brought by Plaintiffs, however to report has been provided, and it seems

          Plaintiffs are stonewalled throughout the process.

    68. Iran’s Prosecutor’s Office find that the Plaintiffs family members received more than

          1200 miss calls originated from numbers associated to South Asian Countries, and asked

          from Iran’s Telecom provider for a through investigation. In reply, the telecom company

          denied any access to those records.

    69. Overall, the Mr. Rabiei and Boroujerdi were controlling the investigation and blocking

          any inquiries into the discovery of the truth related to the accident. They have continued

          to deny the families’ allegations. Mohammad Mehdi Boroumandi, the chairman of the

          government committee formed to investigate the Sanchi disaster continues to deny that

          the crew members of the Sanchi are alive. Boroumandi stated, “The claims about

          telephone calls and the Sanchi crew being taken hostage are totally unfounded and based

          on hearsay.”29

    70. In addition to the evidence of phone calls made to family members of the Sanchi crew,

          several of the cellphones that were on board have remained active. One crewmember’s

          family has continued to pay for the cellular plan for their family member’s phone and

          have received records that the phone was on and working at various points in time after

          the accident, actively connecting to cellular towers. This evidence contradict statements

          made by the authorities that the crew of the Sanchi had not survived the accident and had

          gone down with the ship along with any personal belongings, including cellular phones,

          that were on board the ship at the time of the collision.




29. Id.
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71. Overall, Plaintiffs are at present under constant pressure from the Iranian government to

   accept the government’s depiction of the events and are risking their lives by refusing to

   agree with the government.

72. Defendants have been working in concert to cover up the truth and they were aiding and

   abetting the torturous acts and violation of International law against Sanchi crewmen and

   Plaintiffs.

73. Sanchi Oil Tanker and its crewmen were under insurance by Steamship Mutual, The

   Swedish Club, and Georg Duncker, collectively “Insurance Providers”.

                                     CAUSES OF ACTIONS

74. Plaintiffs’ causes of action arise under and violate the following laws, agreements,

   conventions, resolutions, and treaties:

   (a) Alien Tort Statute, 28 U.S.C. § 1350;

   (b) Torture Victim Protection Act of 1991, 28 U.S.C. ch. 85 §1350;

   (c) Convention against Torture and Other Cruel, Inhuman, or Degrading Treatment or

       Punishment G.A. res. 39/46, annex, 39 U.N. GAOR Supp. (No. 51) at 197, U.N. Doc.

       A/39/51 (1984), entered into force June 26, 1987;

   (d) United Nations Convention on the Law of the Sea, Dec. 10, 1982, 1833 U.N.T.S. 397.

   (e) International Convention against the Taking of Hostages, G.A. res. 146 (XXXIV),

       U.N. GAOR, 34th Sess., Supp. No. 46, at 245, U.N. Doc. A/34/46 (1979), entered

       into force June 3, 1983;

   (f) Universal Declaration of Human Rights (1948) G.A. res. 217A (III), U.N. Doc A/810

       at 71;

   (g) Charter of the United Nations (1945), adopted June 26, 1945, 59 Stat. 1031, T.S.

       993, 3 Bevans 1153 (entered into force October 24, 1945);

                                      FIRST CLAIM

                  (Hostage Taking, a Violation of International Law

                   for which the Alien Tort Statute Provides Relief)

75. Plaintiffs repeat and re-allege and incorporate herein by reference the allegations set forth

   in the foregoing paragraphs of this Complaint as if fully set forth herein.

76. Under Article 1 of the International Convention Against the Taking of Hostages, hostage

   taking is defined as follows:
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   1. Any person who seizes or detains and threatens to kill, to injure or to continue to detain
      another person (hereinafter referred to as the “hostage”) in order to compel a third party,
      namely, a State, an international intergovernmental organization, a natural or juridical
      person, or a group of persons, to do or abstain from doing any act as an explicit or
      implicit condition for the release of the hostage commits the offence of taking hostages
      (“hostage-taking) within the meaning of this Convention.
   2. Any person who:
          a. attempts to commit an act of hostage-taking, or
          b. participates as an accomplice of anyone who commits or attempts to commit an
              act of hostage-taking likewise commits an offence for the purposes of this
              Convention.

77. Because the acts described herein violated the prohibitions against hostage-taking

   including: (1) treaties binding on the United States, (2) statutes adopted by the Congress

   of the United States implementing those treaty obligations, (3) international and domestic

   judicial decisions applying and interpreting the prohibition against hostage-taking, (4)

   administrative regulations and international and domestic judicial decisions applying and

   interpreting the prohibition against hostage-taking, and (5) a number of specific,

   universal, and obligatory standards that are recognized to be part of customary

   international law, these acts constitute “tort[s]…committed in violation of the law of

   nations or a treaty of the United States” under ATS, 28 U.S.C. §1350.

78. Defendants knowingly aided and abetted and/or ratified these acts of hostage-taking, and

   did not act to prevent or punish these violations of human rights as embodied in

   international law.

79. Defendants are liable for aiding and abetting and/or ratification of the commission of

   these abuses under this cause of action.

80. The Plaintiffs are therefore, entitled on this basis to compensatory and punitive damages

   in amounts to be established at trial, and to such other declaratory and/or injunctive relief

   as may be deemed appropriate.

                                    SECOND CLAIM

              (Extrajudicial Execution, a Violation of International Law

                   for which the Alien Tort Statute Provides Relief)

81. Plaintiffs repeat and re-allege and incorporate herein by reference the allegations set forth

   in the foregoing paragraphs of this Complaint as if fully set forth herein.

82. Article 3 of the Universal Declaration of Human Rights states: “Everyone has the right to

   life, liberty and security of person.” These rights are violated when “disappearances” and

   extrajudicial executions are perpetrated. Extrajudicial executions clearly violate the right
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   to life. “Dissapearances” violate the right to liberty and security of person as well as the

   right not to be subjected to torture or cruel, inhuman or degrading treatment as provided

   under Article 5 of the Universal Declaration.

83. Because the acts described herein violated the prohibitions against extrajudicial execution

   including: (1) treaties binding on the United States, (2) statutes adopted by the Congress

   of the United States implementing those treaty obligations, (3) international and domestic

   judicial decisions applying and interpreting the prohibition against extrajudicial

   execution, (4) administrative regulations and international and domestic judicial decisions

   applying and interpreting the prohibition against extrajudicial execution, and (5) a

   number of specific, universal, and obligatory standards that are recognized to be part of

   customary international law, these acts constitute “tort[s]…committed in violation of the

   law of nations or a treaty of the United States” under ATS, 28 U.S.C. §1350.

84. Defendants knowingly aided and abetted and/or ratified these acts of extrajudicial

   execution, and did not act to prevent or punish these violations of human rights as

   embodied in international law.

85. Defendants are liable for aiding and abetting and/or ratification of the commission of

   these abuses under this cause of action.

86. The Plaintiffs are therefore, entitled on this basis to compensatory and punitive damages

   in amounts to be established at trial, and to such other declaratory and/or injunctive relief

   as may be deemed appropriate.

                                      THIRD CLAIM

                        (Piracy, a Violation of International Law

                   for which the Alien Tort Statute Provides Relief)

87. Plaintiffs repeat and re-allege and incorporate herein by reference the allegations set forth

   in the foregoing paragraphs of this Complaint as if fully set forth herein.

88. Under Article 101 of the United Nations Convention on the Law of the Sea, piracy

   consists of any of the following acts:

   (a) any illegal acts of violence or detention, or any act of depredation, committed for
       private ends by the crew or the passengers of a private ship or a private aircraft, and
       directed:
       (i) on the high seas, against another ship or aircraft, or against persons or property on
       board such ship or aircraft;
       (ii) against a ship, aircraft, persons or property in a place outside the jurisdiction of any
       State;
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   (b) any act of voluntary participation in the operation of a ship or of an aircraft with
       knowledge of facts making it a pirate ship or aircraft;
   (c) any act of inciting or of intentionally facilitating an act described in subparagraph (a)
       or (b).

89. Because the acts described herein violated the prohibitions against piracy including: (1)

   treaties binding on the United States, (2) statutes adopted by the Congress of the United

   States implementing those treaty obligations, (3) international and domestic judicial

   decisions applying and interpreting the prohibition against piracy, (4) administrative

   regulations and international and domestic judicial decisions applying and interpreting

   the prohibition against piracy, and (5) a number of specific, universal, and obligatory

   standards that are recognized to be part of customary international law, these acts

   constitute “tort[s]…committed in violation of the law of nations or a treaty of the United

   States” under ATS, 28 U.S.C. §1350.

90. Defendants knowingly aided and abetted and/or ratified these acts of piracy, and did not

   act to prevent or punish these violations of human rights as embodied in international

   law.

91. Defendants are liable for aiding and abetting and/or ratification of the commission of

   these abuses under this cause of action.

92. The Plaintiffs are therefore, entitled on this basis to compensatory and punitive damages

   in amounts to be established at trial, and to such other declaratory and/or injunctive relief

   as may be deemed appropriate.

                                    FOURTH CLAIM

                       (Torture, a Violation of International Law

                          for which the Alien Tort Statute and

                   the Torture Victim Protection Act Provide Relief)

93. Plaintiffs repeat, re-allege and incorporate herein by reference the allegations set forth in

   the foregoing paragraphs of this Complaint as if fully set forth herein.

94. The Defendants’ acts described in this Complaint caused direct and severe physical and

   mental pain and suffering to the Plaintiffs and placed them at severe risk of personal

   injury and/or death in connection with their participation in, and support of, the peaceful

   exercise of their rights of free speech and communication, free association, and the right

   to hold, exercise and express their political beliefs.
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95. Defendants’ acts constitute torture in violation of the Torture Victim Protection Act

   (“TVPA”), 28 U.S.C. § 1350.

96. Because Defendants’ acts described herein violated multiple provisions prohibiting

   torture on an absolute basis including: (1) treaties binding on the United States, (2)

   statutes adopted by the United States Congress implementing those treaty obligations, (3)

   international and domestic judicial decisions applying and interpreting the prohibition

   against cruel, inhuman, or degrading treatment or punishment, (4) administrative

   regulations and international and domestic judicial decisions applying and interpreting

   the prohibition against torture, and (5) a number of specific, universal, and obligatory

   standards that are recognized to be part of customary international law, these acts

   constitute “tort[s]…committed in violation of the law of nations or a treaty of the United

   States” under Alien Tort Statute (“ATS”), 28 U.S.C. § 1350.

97. Defendants aided and abetted and/or ratified these acts of torture in violation of

   international, federal, and state law. These violations and actions meet the definition of

   torture under the meaning of the TVPA, the ATS, and international treaties and U.S. laws

   and regulations, as well as customary international law, which condemn torture on an

   absolute basis, irrespective of the reasons why the abuses are inflicted.

98. The Plaintiffs are therefore entitled on this basis to compensatory and punitive damages,

   in amounts to be established at trial, and to such other declaratory and/or injunctive relief

   as may be deemed appropriate.

                                      FIFTH CLAIM

       (Cruel, Inhuman or Degrading Punishment or Treatment or Punishment,

                             Violations of International Law

                   for Which the Alien Tort Statute Provides Relief)

99. Plaintiffs repeat, re-allege and incorporate herein by reference the allegations set forth in

   the foregoing paragraphs of this Complaint as if fully set forth herein.

100.       Acts of cruel, inhuman, or degrading treatment or punishment suffered by the

   Plaintiffs designated in this Claim, including physical injury and the severe physical and

   mental suffering associated therewith, were inflicted upon them by the joint and collusive

   actions of the Defendants and Iranian government officials acting under color of law,

   through unlawful or unauthorized actions prohibited by international law.
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101.       These acts had the intent and the effect of grossly humiliating, debasing,

   intimidating, and punishing the Plaintiffs, forcing them to act against their will and

   conscience, inciting fear and anguish, and seeking to break their physical and/or moral

   resistance.

102.       These acts of cruel, inhuman, or degrading treatment and punishment were

   inflicted on the Plaintiffs for purposes that include, among others, preventing them from

   exercising their free speech and free association rights, and punishing them for exercising

   their right to have and communicate political beliefs.

103.       Because the acts described herein violated the prohibitions against cruel,

   inhuman, or degrading punishment or treatment including: (1) treaties binding on the

   United States, (2) statutes adopted by the Congress of the United States implementing

   those treaty obligations, (3) international and domestic judicial decisions applying and

   interpreting the prohibition against cruel, inhuman, or degrading treatment or

   punishment, (4) administrative regulations and international and domestic judicial

   decisions applying and interpreting the prohibition against cruel, inhuman or degrading

   treatment or punishment, and (5) a number of specific, universal, and obligatory

   standards that are recognized to be part of customary international law, these acts

   constitute “tort[s]…committed in violation of the law of nations or a treaty of the United

   States” under ATS, 28 U.S.C. §1350.

104. Defendants knowingly aided and abetted and/or ratified these abuses, and did not act to

   prevent or punish these violations of human rights as embodied in international law.

105. Defendants are liable for aiding and abetting and/or ratification of the commission of

   these abuses under this cause of action.

106. The Plaintiffs are therefore, entitled on this basis to compensatory and punitive damages

   in amounts to be established at trial, and to such other declaratory and/or injunctive relief

   as may be deemed appropriate.

                                     SIXTH CLAIM

                     (Arbitrary Arrest and Prolonged Detention,

        A Violation of International Law for Which the Alien Tort Statute and

                  the Torture Victim Protection Act Provide Relief)
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107. Plaintiffs repeat, re-allege and incorporate herein by reference the allegations set forth in

   the foregoing paragraphs of this Complaint as if fully set forth herein.

108. These acts of arbitrary arrest and long-term detention suffered by the Plaintiffs

   designated in this Claim, including arrest and detention for an unlawful purpose in

   violation of the rights to freedom of speech, association, and assembly, were inflicted

   upon them by the joint and collusive actions of the Defendants and Iranian government

   officials acting under color of law, albeit through unlawful or unauthorized actions and

   for unlawful and unauthorized purposes.

109. These acts caused direct physical and mental pain and suffering upon the Plaintiffs,

   caused loss of their liberty and property, and placed them at severe risk of personal injury

   in connection with their participation in, and support of, the peaceful exercise of their

   rights of free speech and free association, and their rights to hold, exercise and express

   their political beliefs.

110. Because the acts described herein violated provisions prohibiting arbitrary arrest and

   prolonged detention, including: (1) treaties binding on the United States, (2) statutes

   adopted by the United States Congress implementing those treaty obligations, (3)

   international and domestic judicial decisions applying and interpreting the prohibition

   against arbitrary arrest and prolonged detention, (4) administrative regulations and

   international and domestic judicial decisions applying and interpreting the prohibition

   against arbitrary arrest and prolonged detention, and and (5) a number of specific,

   universal, and obligatory standards that are recognized to be part of customary

   international law, these acts constitute “tort[s]…committed in violation of the law of

   nations or a treaty of the United States” under ATS, 28 U.S.C. § 1350.

111. Defendants are liable for aiding and abetting and/or ratifying these abuses, as specified

   in this cause of action.

112. Plaintiffs are therefore, entitled on this basis to compensatory and punitive damages, in

   amounts to be established at trial, and to such other declaratory and/or injunctive relief as

   may be deemed appropriate.

                                    SEVENTH CLAIM

                                          (Battery)
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113. Plaintiffs repeat, re-allege and incorporate herein by reference the allegations set forth in

   the foregoing paragraphs of this Complaint as if fully set forth herein.

114. Upon information or belief, Defendants intentionally committed acts that resulted in

   harmful or offensive treatment of Plaintiffs’ persons, and produced bodily harm.

   Plaintiffs did not consent to the contact and treatment that caused injury, damage, loss or

   harm to Plaintiffs.

115. Defendants’ conduct constitutes battery and is actionable under the laws, standards, and

   causes of action as set forth in this complaint.

116. Defendants are liable for aiding and abetting and/or ratifying these abuses, as specified

   in this cause of action.

117. Plaintiffs are therefore, entitled on this basis to compensatory and punitive damages, in

   amounts to be established at trial, and to such other declaratory and/or injunctive relief as

   may be deemed appropriate.

                                       EIGHTH CLAIM

                                            (Assault)

118. Plaintiffs repeat, re-allege and incorporate herein by reference the allegations set forth in

   the foregoing paragraphs of this complaint as if fully set forth herein.

119. Upon information or belief, Defendants’ conduct caused Plaintiffs to be subjected to

   numerous batteries and/or intentional invasions of their rights to be free from offensive

   and harmful contact, and said conduct demonstrated that Defendants had a present ability

   to subject Plaintiffs to immediate, intentional, offensive and harmful touching.

120. Defendants’ conduct constitutes assault and is actionable under the laws, standards, and

   causes of action as set forth in this complaint.

121. Defendants are liable for aiding and abetting and/or ratifying these abuses, as set forth in

   this cause of action.

122. Plaintiffs are therefore, entitled on this basis to compensatory and punitive damages, in

   amounts to be established at trial, and to such other declaratory and/or injunctive relief as

   may be deemed appropriate.

                                        NINTH CLAIM

                                     (False Imprisonment)
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123. Plaintiffs repeat, re-allege and incorporate herein by reference the allegations set forth in

   the foregoing paragraphs of this Complaint as if fully set forth herein.

124. Upon information or belief, Defendants intentionally committed acts that resulted in the

   Iranian government’s exercise of force restraining, detaining and confining Plaintiffs on

   an arbitrary and unlawful basis. The restraint, detention or confinement compelled

   Plaintiffs to stay or go somewhere against their will for some appreciable time. Plaintiffs

   did not consent to this restraint, detention or confinement.

125. Defendants’ conduct constitutes false imprisonment and is actionable under the laws,

   standards, and causes of action as set forth in this complaint.

126. Defendants are liable for aiding and abetting and/or ratifying these abuses as specified in

   this cause of action.

127. Plaintiffs are therefore, entitled on this basis to compensatory and punitive damages, in

   amounts to be established at trial, and to such other declaratory and/or injunctive relief as

   may be deemed appropriate.

                                       TENTH CLAIM

                         (Intentional Infliction of Emotional Distress)

128. Plaintiffs repeat, re-allege and incorporate herein by reference the allegations set forth in

   the foregoing paragraphs of this Complaint as if fully set forth herein.

129. Upon information or belief, Defendants, by providing Monitoring Centers to Iran,

   engaged in conduct adversely affecting Plaintiffs with reckless disregard of the high

   probability that it would cause Plaintiffs to suffer severe abuses and emotional distress.

   Plaintiffs were present at the time the outrageous conduct and these results occurred and

   the Defendants knew or should have known that Plaintiffs were present and would be

   adversely affected.

130. Plaintiffs suffered severe abuse and emotional distress as a result of the conduct of the

   Defendants.

131. Defendants’ conduct constitutes intentional infliction of emotional distress and is

   actionable under the laws, standards, and causes of action as set forth in this complaint.

132. Defendants are liable for aiding and abetting and/or ratifying these abuses as set forth in

   this cause of action.
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   133. Plaintiffs are therefore, entitled on this basis to compensatory and punitive damages, in

       amounts to be established at trial, and to such other declaratory and/or injunctive relief as

       may be deemed appropriate.

                                        ELEVENTH CLAIM

                                             (Negligence)

   134. Plaintiffs repeat, re-allege and incorporate herein by reference the allegations set forth in

       the foregoing paragraphs of this Complaint as if fully set forth herein.

   135. Upon information or belief, Defendants failed to use ordinary or reasonable care in order

       to avoid supplying the oppressive Iranian authorities with monitoring technology.

       Defendants’ negligence was a cause of injury, damage, loss or harm to Plaintiffs.

   136. As a result of these acts, Plaintiffs suffered harm including, but not limited to, severe

       emotional distress. Defendants’ conduct constitutes negligence and is actionable under

       the causes of action as set forth in this complaint.

   137. Defendants are liable for aiding and abetting and/or ratifying these abuses as specified in

       this cause of action.

   138. Plaintiffs are therefore, entitled on this basis to compensatory and punitive damages, in

       amounts to be established at trial, and to such other declaratory and/or injunctive relief as

       may be deemed appropriate.

                                       REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment against all Defendants and respectfully

request the following relief:

   139. For actual and compensatory damages to each of the Plaintiffs according to proof to be

       established at trial;

   140. Order Insurance Providers to pay for sustained damages.

   141. For punitive and exemplary damages according to proof to be established at trial;

   142. For declaratory relief determining that the actions of the Defendants constituted

       violations of international law, specifically, that such violations included prohibited acts

       of hostage-taking, extrajudicial execution, piracy, torture, cruel, inhuman or degrading

       treatment, and arbitrary arrest and prolonged detention in violation of the Convention

       Against the Taking of Hostages, the Convention Against Torture, the Convention on the

       Law of the Sea, numerous other international treaty obligations binding on the United
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       States, and domestic laws and regulations implementing such standards, including the

       Torture Victim Protection Act, and other enumerated causes of action in this Complaint;

   143. For affirmative action by the Defendants to secure the release of the detainees if

       possible;

   144. For costs of the litigation, including, attorneys’ fees; and

   145. For such other relief as the Court deems just and proper.



Dated: January 14, 2019


                                                              Respectfully submitted,

                                                              __________/s/_____________

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